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                         EXHIBIT B
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                                 Excerpt of WhatsApp Chat

[28/7/23, 14:48:46] Dickie Shearer: <attached: 00000206-VIDEO-2023-07-28-14-48-46.mp4>

                           [The video referenced above is omitted.]

[28/7/23, 14:58:08] Dickie Shearer: feeling like a big few months for Pegasus and Tintra!!!
[28/7/23, 14:58:08] Dickie Shearer: He spoke with knowledge. I think this is a huge opportunity
[28/7/23, 14:58:09] Dickie Shearer: Ha. Yes. Furphy ? It was too intense a reaction. Wow. But
he says come to Barbados
[28/7/23, 14:58:09] Dickie Shearer: Quick questions. Rd how I follow up
With avi re Tintra. He also wants to maybe do a green bank day at cop. To discuss
[28/7/23, 15:01:58] 🇬🇧 Phil -Tintra: Pretty amazing !!
[28/7/23, 15:04:36] 🇬🇧 Phil -Tintra: We are ready to roll !
[28/7/23, 15:14:15] Dickie Shearer: <attached: 00000213-PHOTO-2023-07-28-15-14-15.jpg>

                            [The photo referenced above follows.]
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[28/7/23, 15:15:44] Dickie Shearer: This has got the full green light in the last 24 hours
[28/7/23, 15:25:48] 🇬🇧 Phil -Tintra: Great news !!
[28/7/23, 17:16:45] [Tintra Pegasus Employee]: Great News and we need to start, Can’t wait
anymore! All guns loaded!
